Case 3:09-cr-00240   Document 1972   Filed 02/20/13   Page 1 of 6 PageID #: 7641
Case 3:09-cr-00240   Document 1972   Filed 02/20/13   Page 2 of 6 PageID #: 7642
Case 3:09-cr-00240   Document 1972   Filed 02/20/13   Page 3 of 6 PageID #: 7643
Case 3:09-cr-00240   Document 1972   Filed 02/20/13   Page 4 of 6 PageID #: 7644
Case 3:09-cr-00240   Document 1972   Filed 02/20/13   Page 5 of 6 PageID #: 7645
Case 3:09-cr-00240   Document 1972   Filed 02/20/13   Page 6 of 6 PageID #: 7646
